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                    8                        UNITED STATES DISTRICT COURT
                    9                      CENTRAL DISTRICT OF CALIFORNIA
                   10
                      PAOLA FRENCH and RUSSELL                  Case No. 5:20-cv-00416-JGB-SP
                   11 FRENCH,
                   12               Plaintiffs,                 INDEX RE DEFENDANT
                   13        vs.                                SALVADOR SANCHEZ’S
                                                                DEPOSITION TESTIMONY TO BE
                   14 CITY OF LOS ANGELES;                      OFFERED AS EVIDENCE AT
                      SALVADOR SANCHEZ; and DOES
                   15 1-10, inclusive,                          TRIAL
                   16               Defendants.
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                           INDEX RE SANCHEZ’S DEPOSITION TESTIMONY TO BE OFFERED AS EVIDENCE AT TRAIL
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                    1        TO THIS HONORABLE COURT, ALL PARTIES, AND TO THEIR
                    2 ATTORNEYS OF RECORD:
                    3        Plaintiffs hereby submit an index of portions of the deposition testimony of
                    4 Defendant Salvador Sanchez to be offered as evidence in Plaintiffs’ case in chief.
                    5 Plaintiffs intend to play the video portions of Defendant Sanchez’s testimony that
                    6 correspond to the below citations. Excerpts of Defendants’ deposition transcript
                    7 containing the testimony cited in the index are attached hereto as “Exhibit A.”
                    8        Defendant City’s objections are set forth herein. Defendant City reserves its
                    9 right to make further objections at trial based on the presentation of evidence.
                   10
                   11
                   12 DATED: October 12, 2021                           LAW OFFICES OF DALE K. GALIPO
                   13
                   14                                         By:
                                                                        Dale K. Galipo
                   15
                                                                        Attorney for Plaintiffs
                   16
                   17 Dated: October 18, 2021         MICHAEL N. FEUER, City Attorney
                   18                                 KATHLEEN A. KENEALY, Chief Dep. City Atty
                                                      SCOTT MARCUS, Senior Assistant City Attorney
                   19                                 CORY M. BRENTE, Senior Assistant City Attorney
                   20
                                                      By:     /s/ Colleen R. Smith
                   21                                         COLLEEN R. SMITH, Deputy City Attorney
                   22                                    Attorneys for Defendant CITY OF LOS ANGELES

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                    1 DATED: October 18, 2021         DANA ALDEN FOX
                                                      MATTHEW P. HARRISON
                    2                                 DAWN M. FLORES-OSTER
                                                      ANDREW C. HUBERT
                    3                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                    4
                    5                                 By:         /s/ Andrew C. Hubert
                                                            ANDREW C. HUBERT
                    6                                       Attorneys for Defendant, SALVADOR
                                                            SANCHEZ
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                    1
                        No.    Deposition Citation   Objection
                    2
                    3    1.         22:8-24:2        Defendant City: None.

                    4    2.          24:8-12         Defendant City: None.

                    5    3.         24:15-25         Defendant City: There is a typographical error in

                    6                                the transcript.        Section 210.35 is Conduct

                    7                                Unbecoming        an    Officer,   not   Conduct   on

                    8                                becoming an Officer.

                    9    4.         25:8-27:6        Defendant City: Object to 26:22-27:6, irrelevant,

                   10                                FRE 403, confusing. See colloquy between

                   11                                counsel at 27:7-16.

                   12    5.          28:5-23         28:5-10 – Irrelvant, Defendant Sanchez’s subject

                   13                                state of mind is irrelevant to the jury’s

                   14                                determination of the issues.

                   15    6.          29:1-12         Defendant City: None.

                   16    7.         30:2-31:3        Defendant City: None.
                   17    8.        31:20-34:5        Defendant City: None.
                   18    9.         34:16-23         Defendant City: None.
                   19    10.       35:10-36:8        Defendant City: None.
                   20    11.         38:4-8          Defendant     City:     Vague,     ambiguous,   lacks
                   21                                foundation. There is no indication what document
                   22                                is being referred to.
                   23    12.         40:2-15         Defendant City: FRE 106. Pages 39:18-19 and
                   24                                40:20-21 also should be read.
                   25    13.         41:6-20         Defendant City: FRE 106. Pages 40:21-41:5 also
                   26                                should be read.
                   27    14.        42:17-24         Defendant City: None.
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                    1   15.         65:2-7          Defendant City: None.
                    2   16.        67:11-25         Defendant City: None.
                    3   17.         73:7-19         Defendant City: None.
                    4   18.         74:4-17         Defendant City: None.
                    5   19.        83:14-25         Defendant City: None.
                    6   20.        91:14-17         Defendant City: None.
                    7   21.        116:11-25        Defendant City: None.
                    8   22.      124:21-125:24      Defendant City: Object to 125:4-12 being read.
                    9                               It has comments and statements of counsel and
                   10                               the question at 125:11-12 is a repeat of the
                   11                               question at 125:2-3.
                   12                               Defendant City also objects to 125:17-19 being
                   13                               read. It is a statement by Sanchez’s attorney, it is
                   14                               not an appropriate question and answer.
                   15   23.        127:13-21        Defendant City: Object to 127:16-18 being read.
                   16                               This is a statement by Sanchez’s attorney and is
                   17                               inadmissible hearsay and commentary.
                   18   24.        129:4-12         Defendant City: Object to 129:7-8 being read.
                   19                               This is a statement by Sanchez’s attorney and is
                   20                               inadmissible hearsay and commentary.
                   21   25.        130:8-22         Defendant City: Object to 130:18-20 being read.
                   22                               This is a statement by Sanchez’s attorney and is
                   23                               inadmissible hearsay and commentary.
                   24   26.       136:4-137:6       Defendant City: Object to 136:8-20 being read.
                   25                               This is inadmissible hearsay and the colloquy
                   26                               between counsel.
                   27   27.      137:23-138:25      Defendant City: Objection to 138:21-24 being
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                    1                                     read. This is an objection by counsel which is not
                    2                                     read to the jury.
                    3         28.      140:7-142:11       Defendant City: Object to 140:11-15 being read.
                    4                                     This is an objection by counsel which is not read
                    5                                     to the jury.
                    6                                     Defendant City also objects to 140:25-141:4
                    7                                     being read. Counsel obviously misspoke, and the
                    8                                     witness (understandably) asked that the question
                    9                                     be repeated.
                   10                                     Defendant City further objects to 17-22 being
                   11                                     read. The question was not answered and then
                   12                                     withdrawn.
                   13         29.        143:7-17         Defendant City: Object to 143:10-15 being read.
                   14                                     It is an objection by counsel and commentary by
                   15                                     counsel.
                   16         30.      149:22-151:20      Defendant City: None.
                   17
                   18
                   19                DEFENDANT CITY’S COUNTER-DESIGNATIONS
                   20   No.         Deposition Pages     Objections by Sanchez
                   21     1.        11:10-24
                   22     2.        11:25-14:1
                   23     3.        16:10-12
                   24     4.        16:19-20
                   25     5.        16:24-25
                   26
                          6.        19:1-2
                   27
                          7.        19:5-7
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                    1   8.    20:15-21:4
                    2   9.    24:3-4
                    3   10.   34:6-12
                    4   11.   36:16-18
                    5   12.   42:8-16
                    6   13.   43:22-44:4
                    7   14.   48:2-18
                    8   15.   59:17-22              Objection: Fifth Amendment
                    9   16.   60:6-8                Objection: Fifth Amendment
                   10
                        17.   60:9-12               Objection: Fifth Amendment
                   11
                        18.   60:13-16              Objection: Fifth Amendment
                   12
                        19.   60:25-61:3            Objection: Fifth Amendment
                   13
                        20.   61:4-7                Objection: Fifth Amendment
                   14
                        21.   61:8-11               Objection: Fifth Amendment
                   15
                        22.   61:12-16              Objection: Fifth Amendment
                   16
                        23.   63:14-64:10     and
                   17
                              64:18-65:1
                   18
                        24.   65:8-67:10
                   19
                        25.   68:1-69:2
                   20
                        26.   69:17-20
                   21
                        27.   69:21-70:7
                   22
                        28.   70:8-20
                   23
                        29.   71:10-13
                   24
                   25   30.   72:10-13

                   26   31.   72:14-22

                   27   32.   74:21-75:1

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                    1   33.   77:21-25
                    2   34.   78:1-4
                    3   35.   78:5-12
                    4   36.   78:18-19 and 79:1-2 Objection: Fifth Amendment
                    5   37.   83:9-13
                    6   38.   84:1-85:6
                    7   39.   85:7-21
                    8   40.   85:22-23 and 86:3-4 Objection: Fifth Amendment 85:22-23,
                    9                              86:3-4
                   10   41.   86:11-14
                   11
                        42.   86:15-16 and 86:21- Objection: Fifth Amendment 86:15-16,
                   12
                              22                   86:21-22
                   13
                        43.   86:24-87:2
                   14
                        44.   87:7-8 and 87:13-14 Objection: Fifth Amendment 87:7-8,
                   15
                                                   87:13-14
                   16
                        45.   87:18-20 and 87:23- Objection: Fifth Amendment 87:18-20,
                   17
                              24                   87:23-24
                   18
                        46.   88:1-4
                   19
                        47.   88:12-13 and 88:17- Objection: Fifth Amendment 88:12-13,
                   20
                              18                   88:17-18
                   21
                        48.   89:12-14 and 89:18- Objection: Fifth Amendment 89:12-14,
                   22
                              19                   89:18-19
                   23
                        49.   89:21-25
                   24
                        50.   90:1-7
                   25
                        51.   90:14-16
                   26
                        52.   92:10-15, 90:17-18, Objection: Fifth Amendment 92:10-15, 92:17-18,
                   27
                              90:20 and 93:1-3     92:20, 93:1-3
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                    1   53.   93:9-10 and 93:12- Objection: Fifth Amendment 93:9-10,
                    2         13                    93:12-13
                    3   54.   93:20-22 and 94:1-2 Objection: Fifth Amendment 93:20-22,
                    4                               94:1-2
                    5   55.   95:25 - 96:10
                    6   56.   96:20 - 97:11
                    7   57.   101:4-9 and 101:23    Objection: vague and ambiguous
                    8   58.   101:24-102:4
                    9   59.   102:5-9
                   10   60.   103:17-20
                   11   61.   103:24-104:3
                   12
                        62.   104:7-10         and Objection: vague, ambiguous, and assumes facts
                   13
                              104:17-20             not in evidence
                   14
                        63.   106:12-15        and Objection: In Limine #2 order of the court
                   15
                              106:20
                   16
                        64.   106:21-23        and Objection: In Limine #2 order of the court
                   17
                              107:1
                   18
                        65.   107:2-7 and 107:25- Objection: In Limine #2 order of the court
                   19
                              108:3
                   20
                        66.   108:4-108:18          Objection: In Limine #2 order of the court
                   21
                        67.   108:19-109:12         Objection: In Limine #2 order of the court
                   22
                        68.   110:25-111:19,        Objection: In Limine #2 order of the court
                   23
                              112:1-112:12,
                   24
                              112:19 and 112:23-
                   25
                              113:5
                   26
                        69.   113:6-12              Objection: In Limine #2 order of the court
                   27
                        70.   115:1-3               Objection: In Limine #2 order of the court
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                    1   71.   115:25-116:10        Objection: In Limine #2 order of the court
                    2   72.   117:1-24             Objection: In Limine #2 order of the court
                    3   73.   117:25-118:9         Objection: In Limine #2 order of the court
                    4   74.   119:10-14            Objection: Irrelevant
                    5   75.   120:25-121:2         Objection: Irrelevant
                    6   76.   121:3-18             Objection: Irrelevant
                    7   77.   123:11-13            Objection: Irrelevant
                    8   78.   123:18-20            Objection: Irrelevant
                    9   79.   126:1-3 and 126:9- Objection: Fifth Amendment
                   10         10
                   11
                        80.   126:12-13       and Objection: Fifth Amendment
                   12
                              126:15-16
                   13
                        81.   126:18-20       and Objection: Fifth Amendment
                   14
                              126:9-10
                   15
                        82.   126:12-13       and Objection: Fifth Amendment
                   16
                              126:15-16
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                        83.   126:18-20       and Objection: Fifth Amendment
                   18
                              126:22-23
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                        84.   127:2-12
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                        85.   128:9-12        and Objection: Fifth Amendment
                   21
                              128:17-18
                   22
                        86.   128:20-129:3         Objection: Fifth Amendment
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                        87.   129:14-16       and Objection: Fifth Amendment
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                              129:22-24
                   25
                        88.   130:1-2 and 130:5-6 Objection: Fifth Amendment
                   26
                        89.   130:24-25       and Objection: Fifth Amendment
                   27
                              131:5-6
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                    1   90.   137:7-10        and Objection: Speculation
                    2         137:14-15
                    3   91.   137:17-22
                    4   92.   139:20-140:6
                    5   93.   146:16-17       and Objection: Fifth Amendment
                    6         146:24-25
                    7   94.   147:16-17       and Objection: Fifth Amendment
                    8         147:23-24
                    9   95.   152:25-153:6
                   10   96.   155:19-20       and Objection: Fifth Amendment
                   11         155:25-156:1
                   12   97.   156:7-8 and 156:12- Objection: Fifth Amendment
                   13         13
                   14   98.   156:20-23       and Objection: Fifth Amendment
                   15         157:4-5
                   16
                        99.   157:18-20       and Objection: Fifth Amendment
                   17
                              158:6-7
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                    1                         FEDERAL COURT PROOF OF SERVICE
                         Paola French and Russell French vs. City of Los Angeles; Salvador Sanchez, et al.
                    2                           Case No. 5:20-cv-00416-JGB-SP
                    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    4        At the time of service, I was over 18 years of age and not a party to the action.
                      My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                    5 am employed in the office of a member of the bar of this Court at whose direction
                      the service was made.
                    6
                             On October 18, 2021, I served the following document(s): INDEZ RE
                    7 DEPOSITION TESTIMONY OF DEFENDANT SALVADOR SANCHEZ
                    8         I served the documents on the following persons at the following addresses
                        (including fax numbers and e-mail addresses, if applicable):
                    9
                                               SEE ATTACHED SERVICE LIST
                   10
                              The documents were served by the following means:
                   11
                           I declare under penalty of perjury under the laws of the United States of
                   12 America and the State of California that the foregoing is true and correct.
                   13         Executed on October 18, 2021, at Los Angeles, California.
                   14
                                                                        Tania Moore
                   15
                                                                  Tania Moore
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                    1                                  SERVICE LIST
                        Paola French and Russell French vs. City of Los Angeles; Salvador Sanchez, et al.
                    2                         Case No. 5:20-cv-00416-JGB-SP
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